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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

UNITED STATES OF AMERICA

v.                                                Case No. 2:23-mj-1104-NPM

TIMOTHY CRAIG JOLLOFF




 Judge:        Kyle C. Dudek        Counsel for      Trenton Reichling
                                    Government
 Deputy        Wendy Winkel         Counsel for      Beatriz Vazquez
 Clerk:                             Defendant:
 Court         Digital              Pretrial/        Ruben Fournier
 Reporter                           Probation
 Date/Time  June 16, 2023           Interpreter
            2:00 PM
 Bench Time 7 minutes



Initial Appearance

Court advised Defendant of rights. Attorney Beatriz Vazquez appearing for
defendant on a limited appearance.

Government summarized allegations and penalties. Oral DPPA order.

Detention

Government is not seeking detention. Court orders defendant released with
conditions. Defendant waives a preliminary hearing.
